Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 1 of 82 PageID #: 1
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 2 of 82 PageID #: 2
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 3 of 82 PageID #: 3
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 4 of 82 PageID #: 4
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 5 of 82 PageID #: 5
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 6 of 82 PageID #: 6
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 7 of 82 PageID #: 7
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 8 of 82 PageID #: 8
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 9 of 82 PageID #: 9
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 10 of 82 PageID #: 10
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 11 of 82 PageID #: 11
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 12 of 82 PageID #: 12
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 13 of 82 PageID #: 13
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 14 of 82 PageID #: 14
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 15 of 82 PageID #: 15
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 16 of 82 PageID #: 16
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 17 of 82 PageID #: 17
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 18 of 82 PageID #: 18
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 19 of 82 PageID #: 19
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 20 of 82 PageID #: 20
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 21 of 82 PageID #: 21
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 22 of 82 PageID #: 22
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 23 of 82 PageID #: 23
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 24 of 82 PageID #: 24
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 25 of 82 PageID #: 25
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 26 of 82 PageID #: 26
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 27 of 82 PageID #: 27
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 28 of 82 PageID #: 28
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 29 of 82 PageID #: 29
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 30 of 82 PageID #: 30
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 31 of 82 PageID #: 31
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 32 of 82 PageID #: 32
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 33 of 82 PageID #: 33
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 34 of 82 PageID #: 34
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 35 of 82 PageID #: 35
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 36 of 82 PageID #: 36
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 37 of 82 PageID #: 37
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 38 of 82 PageID #: 38
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 39 of 82 PageID #: 39
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 40 of 82 PageID #: 40
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 41 of 82 PageID #: 41
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 42 of 82 PageID #: 42
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 43 of 82 PageID #: 43
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 44 of 82 PageID #: 44
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 45 of 82 PageID #: 45
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 46 of 82 PageID #: 46
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 47 of 82 PageID #: 47
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 48 of 82 PageID #: 48
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 49 of 82 PageID #: 49
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 50 of 82 PageID #: 50
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 51 of 82 PageID #: 51
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 52 of 82 PageID #: 52
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 53 of 82 PageID #: 53
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 54 of 82 PageID #: 54
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 55 of 82 PageID #: 55
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 56 of 82 PageID #: 56
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 57 of 82 PageID #: 57
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 58 of 82 PageID #: 58
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 59 of 82 PageID #: 59
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 60 of 82 PageID #: 60
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 61 of 82 PageID #: 61
ase: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 62 of 82 PageID #:
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 63 of 82 PageID #: 63
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 64 of 82 PageID #: 64
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 65 of 82 PageID #: 65
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 66 of 82 PageID #: 66
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 67 of 82 PageID #: 67
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 68 of 82 PageID #: 68
ase: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 69 of 82 PageID #:
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 70 of 82 PageID #: 70
ase: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 71 of 82 PageID #: 7
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 72 of 82 PageID #: 72
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 73 of 82 PageID #: 73
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 74 of 82 PageID #: 74
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 75 of 82 PageID #: 75
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 76 of 82 PageID #: 76
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 77 of 82 PageID #: 77
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 78 of 82 PageID #: 78
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 79 of 82 PageID #: 79
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 80 of 82 PageID #: 80
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 81 of 82 PageID #: 81
Case: 1:15-cv-00035-GHD-DAS Doc #: 1 Filed: 02/13/15 82 of 82 PageID #: 82
